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11
                                     UNITED STATES DISTRICT COURT
12
             NORTHERN DISTRICT OF CALIFORNIA-SAN FRANCISCO DIVISION
13
     HELENE CAHEN, KERRY J. TOMPULIS,                        CASE NO. 15-cv-01104-WHO
14   MERRILL NISAM, RICHARD GIBBS, and
     LUCY L. LANGDON, on Behalf of                           PLAINTIFFS’ REQUEST FOR JUDICIAL
15   Themselves and All Others Similarly                     NOTICE IN SUPPORT OF ALL
     Situated,                                               OPPOSITIONS TO DEFENDANTS’
16                                                           MOTIONS TO DISMISS PLAINTIFFS’
                       Plaintiffs,                           FIRST AMENDED COMPLAINT
17
     v.
18                                                           CLASS ACTION
     TOYOTA MOTOR CORPORATION,
19   TOYOTA MOTOR SALES, U.S.A., INC.,
     FORD MOTOR COMPANY, GENERAL
20   MOTORS LLC, and DOES 1 through 50,
                                                             Date: November 3, 2015
21                              Defendants.                  Time: 3:00 p.m.
                                                             Judge: Hon. William H. Orrick
22                                                           Ctrm: 2

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24
                            PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
25
              Plaintiffs Helene Cahen, Kerry J. Tompulis, Merrill Nisam, Richard Gibbs, and Lucy
26
     L. Langdon (collectively, “Plaintiffs”) respectfully request the Court to take judicial notice of
27
28   certain documents pursuant to Federal Rule of Evidence 201(b)(1) and(2).

                                                            1
      PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ALL OPPOSITIONS TO   Case No. 15-cv-01104-WHO
      DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
       Case 3:15-cv-01104-WHO Document 55 Filed 09/28/15 Page 2 of 3



1            Each of the documents is appropriate for judicial notice and consideration by the Court

2    in the context of Defendants’ Rule 12 motions because: 1) the contents are central to the

3    allegations and 2) no party can in good faith question the authenticity of the documents.

4    Frenzel v. AliphCom, 76 F. Supp. 3d 999, 1018 n.9 (N.D. Cal. 2014); Parrino v. FHP, Inc.,

5    146 F.3d 699, 705 (9th Cir. 1998) (same), superseded by statute on other grounds as stated in

6    Abrego v. Dow Chem. Co., 443 F.3d 676, 681-82 (9th Cir. 2006); see also Parrino, 146 F.3d at

7    706 (holding that the Court may consider a document if the complaint “necessarily relies” on it

8    and the document’s authenticity is not contested).

9            The Court should take judicial notice of the following documents which are either

10   referenced in the Complaint or central to its allegations:

11           Exhibit 1 attached hereto is a true and correct copy of Tracking & Hacking: Security &

12   Privacy Gaps Out American Drivers at Risk, A report written by the staff of Senator Edward J.

13   Markey (D-Massachusetts), available at http://www.markey.senate.gov/imo/media/doc/2015-

14   02-06_MarkeyReport-Tracking_Hacking_CarSecurity%202.pdf.

15           Exhibit 2 attached hereto is a true and correct copy of Charlie Miller & Chris Valasek,

16   Technical White Paper: Adventures in Automotive Networks and Control Units, available at

17   http://www.ioactive.com/pdfs/IOActive_Adventures_in_Automotive_Networks_and_Control_

18   Units.pdf.

19           Exhibit 3 attached hereto is a true and correct copy of Jim Finkle & Bernie Woodall,

20   Researcher Says Can Hack GM’s OnStar App, Open Vehicle, Start Engine, available at

21   http://www.reuters.com/article/2015/07/30/gm-hacking-idUSL1N10A2GX20150730.

22           Exhibit 4 attached hereto is a true and correct copy of Hacking Researchers Kill A Car

23   Engine on The Highway to Send A Message to Automakers, available at http://www.pbs.org

24   /newshour/bb/hacking-researchers-kill-car-engine-highway-send-message-automakers/.

25           Exhibit 5 attached hereto is a true and correct copy of Stephen Checkoway et al.,

26   Comprehensive Experimental Analyses of Automotive Attack Surfaces, available at

27   http://www.autosec.org/pubs/cars-usenixsec2011.pdf.

28           Exhibit 6 attached hereto is a true and correct copy of Andy Greenberg, GM Took 5

                                                           2
     PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ALL OPPOSITIONS TO   Case No. 15-cv-01104-WHO
     DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
       Case 3:15-cv-01104-WHO Document 55 Filed 09/28/15 Page 3 of 3



1    Years to Fix a Full-Takeover Hack in Millions of OnStar Cars, available at http://www.wired.

2    com/2015/09/gm-took-5-years-fix-full-takeover-hack-millions-onstar-cars/.

3            Exhibit 7 attached hereto is a true and correct copy of California Auto Outlook,

4    Volume 11, Number 3 (August 2015), available at http://www.cncda.org/CMS/Pubs

5    /Cal%20Covering%202Q%2015%20Ver%202.pdf.

6            Exhibit 8 attached hereto is a true and correct copy of the opening page of a google

7    search result for “ford motor company california” done on September 28, 2015, available at

8    https://www.google.com/?gws_rd=ssl#q=ford+motor+company+california

9
10   DATED: September 28 2015                            STANLEY LAW GROUP
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11
12                                                       /s/ Matthew J. Zevin
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                                                           3
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     DEFENDANTS’ MOTIONS TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
